                    Case 1-18-47256-cec        Doc 56      Filed 05/03/19       Entered 05/03/19 11:59:06




                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF NEW YORK

IN RE: 4921 12TH AVENUE LLC                                     CASE NO: 18-47256
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 11




On 5/1/2019, I did cause a copy of the following documents, described below,
Notice of Hearing
Disclosure Statement




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 5/1/2019
                                                          /s/ Mark Frankel
                                                          Mark Frankel 1989
                                                          Backenroth Frankel & Krinsky, LLP
                                                          800 Thrid Avenue
                                                          New York, NY 10022-0000
                                                          212 593 1100
                     Case 1-18-47256-cec              Doc 56        Filed 05/03/19         Entered 05/03/19 11:59:06




                                        UNITED STATES BANKRUPTCY COURT
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 IN RE: 4921 12TH AVENUE LLC                                            CASE NO: 18-47256

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 11




On 5/1/2019, a copy of the following documents, described below,

Notice of Hearing
Disclosure Statement




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 5/1/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Mark Frankel
                                                                            Backenroth Frankel & Krinsky, LLP
                                                                            800 Thrid Avenue
                                                                            New York, NY 10022-0000
                Case 1-18-47256-cec        Doc 56      Filed 05/03/19   Entered 05/03/19 11:59:06
PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                DEBTOR                                   OLD REPUBLIC NATIONAL TITLE INSURANCE
1LABEL MATRIX FOR LOCAL NOTICING         4921 12TH AVENUE LLC                     COMPAN
02071                                    4921 12TH AVENUE                         521 5TH AVENUE
CASE 1-18-47256-CEC                      BROOKLYN NY 11219-3040                   23RD FLOOR
EASTERN DISTRICT OF NEW YORK                                                      NEW YORK NY 10175-2399
BROOKLYN
WED MAY 1 11-43-16 EDT 2019



271 C CADMAN PLAZA EAST SUITE 1595       BEIS CHASIDEI GORLITZ                    BEIS CHASIDEI GORLITZ
BROOKLYN NY 112011801                    CO BERKMAN HENOCH ET AL                  CO HERRICK FEINSTEIN LLP
                                         100 GARDEN CITY PLAZA                    2 PARK AVENUE
                                         GARDEN CITY NY 11530-3203                NEW YORK NY 10016-5702




BUTLER FITZGERALD FIVESON MCCARTHY PC    GALSTER FUNDING LLC                      GALSTER FUNDING LLC
9 EAST 45TH STREET NINTH FLOOR           9 EAST 45TH ST 9TH FLOOR                 9 EAST 45TH STREET NINTH FLOOR
NEW YORK NEW YORK 10017-8456             NEW YORK NY 10017-8456                   NEW YORK NY 10017-2425




GALSTER FUNDING LLC                      GALSTER FUNDING LLC                      INTERNAL REVENUE SERVICE
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OFFICE OF THE UNITED STATES TRUSTEE      OLD REPUBLIC NATIONAL TITLE INSURANCE    OLD REPUBLIC NATIONAL TITLE INSURANCE
EASTERN DISTRICT OF NY BROOKLYN OFFICE   COMPAN                                   COMPAN
US FEDERAL OFFICE BUILDING               CO BUTLER FITZGERALD FIVESON             A FLORIDA CORPORATION
201 VARICK STREET SUITE 1006             MCCARTHY PC                              CO BUTLER FITZGERALD FIVESON MCCARTHY
NEW YORK NY 10014-9449                   9 EAST 45TH STREET 9TH FLOOR             NINE EAST 45TH STREET NINTH FLOOR
                                         NEW YORK NEW YORK 10017-8456             NEW YORK NY 10017-2425




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